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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

 UNITED STATES OF AMERICA & STATE
 OF NEW HAMPSHIRE DEPARTMENT OF
 ENVIRIONMENTAL SERVICES,

        Plaintiffs,
                                                              Civ. No. 1:22-cv-289-SM
 v.
 MCCORD CORP.,
        Defendant.


                           JOINT DISCOVERY PLAN: EXHIBIT A
                STIPULATION REGARDING DISCOVERY PROCEDURE
       WHEREAS, Rule 26(f) of the Federal Rules of Civil Procedure states that the Parties

must develop a proposed discovery plan that states the Parties’ views and proposals on, among

other things, “any issues about disclosure, discovery, or preservation of electronically stored

information, including the form or forms in which it should be produced,” Fed. R. Civ. P.

26(f)(3)(C);

       WHEREAS, the Parties mutually seek to reduce the time, expense and other burdens of

discovery of certain electronically stored information (“ESI”) and privileged materials, as

described further below, and to better define the scope of their obligations with respect to

preserving such information and materials;

       WHEREAS, the Parties therefore are entering into this Stipulation with the request that

the Court enter it as an Order;

       NOW THEREFORE, it is hereby STIPULATED and ORDERED:




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                                      I.      DEFINITIONS

          1.    The terms used in this stipulation and order that are also used in the Federal Rules

of Civil Procedure have the same meaning that they have under the Federal Rules, unless

otherwise provided in this stipulation and order. Whenever the terms set forth below are used in

this stipulation and order, the following definitions apply:

                (a)    “Draft,” when used to describe either an electronic or hard copy

document, means “a preliminary version of a document that has been shared by the author with

another person (by e-mail, print, or otherwise) or that the author no longer intends to finalize or

to share with another person,”

                (b)    “Document Family” means a group of related documents including parent

and child documents. A parent document is an electronic file that has at least one other electronic

file attached to it or embedded within it. A child document is an electronic file that is attached to

or embedded within another electronic file.

                (c)    “Duplicate,” when used to describe either an electronic or hard copy

document, means that the document does not show any facial differences, such as the inclusion

of highlights, underlining, marginalia, total pages, attachments, markings, revisions, or the

inclusion of tracked changes. Differences in system metadata fields, such as date created or

modified, that do not affect the face of the document, are not relevant to determining whether the

document is a duplicate.

                (d)    “Gigabyte” means one billion bytes or 1,000 megabytes.

                (e)    “Parties” means the parties to this litigation, including their employees and

agents.

                (f)    “Policy” means a regular practice at an entity that managers know about

and expect to be carried out.


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                                    II.     PRESERVATION

          2.    ESI That Is Not Reasonably Accessible. The following categories of ESI listed

below are not reasonably accessible in this litigation:

                (a)    Data stored in a backup system for the purpose of system recovery or

information restoration, including but not limited to, disaster recovery backup tapes, continuity

of operations systems, data or system mirrors or shadows, or automated generation of versions of

files, if such data are routinely deleted or written over in accordance with an established routine

system maintenance practice;

                (b)    Voice-mail messages;

                (c)    Instant messages, such as messages sent on AOL Instant Messenger or

Microsoft Communicator;

                (d)    Text messages, such as cell phone to cell phone SMS messages;

                (e)    Electronic mail sent to or from a smartphone (e.g., BlackBerry, iPhone),

tablet (e.g., iPad) provided that a copy of such e-mail is routinely saved elsewhere;

                (f)    Other electronic data stored on a smartphone or tablet, such as calendar or

contact data or notes, provided that a copy of such information is routinely saved elsewhere;

                (g)    Logs of calls made from cellular phones;

                (h)    Deleted computer files, whether fragmented or whole (nothing in this

order authorizes the intentional deletion of ESI after the duty arose to preserve such ESI);

                (i)    Data stored in random access memory (“RAM”), cache memory, or in

temporary or cache files, including internet history, web browser cache and cookie files,

wherever located;

                (j)    Data that is not accessible through the operating system installed on a

device;


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               (k)       Data stored on photocopiers, scanners, and fax machines;

               (l)       Server, system, or network logs;

               (m)       Electronic data temporarily stored by scientific equipment or attached

devices, provided that the data that is ordinarily preserved as part of a laboratory report is, in

fact, preserved in its ordinary location and form; and

               (n)       Data stored on electronic systems that were no longer in use five years

before the complaint was filed.

       3.      Nothing in this Stipulation and Order prevents any Party from asserting, in

accordance with the Federal Rules of Civil Procedure, that other categories of ESI are not

reasonably accessible.

       4.      The Parties need not preserve, for this litigation, the categories of ESI listed in

paragraph 2 unless, on the date that this stipulation and order is entered by the Court, either Party

has a Policy that results in the routine preservation of such ESI, in which case such Party shall

continue to preserve such ESI in accordance with its Policy.

       5.      No Discovery of Material Not Required To Be Preserved. The Parties shall not

seek discovery of items that need not be preserved pursuant to paragraph 2 above. If any

discovery request is susceptible of a construction that calls for the production of items that need

not be preserved pursuant to paragraph 2, such items need not be searched for, produced, or

identified on a privilege log pursuant to Fed. R. Civ. P. 26(b)(5).

       6.      Use of Documents During Litigation. Notwithstanding any other provision of this

Order, the Parties may take any of the following actions with respect to documents and ESI

without breaching their duty to preserve documents and ESI:




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                (a)     The Parties may continue to work, in the ordinary course of business, on

documents that do not meet the definition of Draft in paragraph 1. However, the Parties shall

preserve Draft documents for discovery.

                (b)     The Parties may move unfiled documents or ESI into files or folders that

adhere to an organizational scheme that was created before the complaint was filed in this matter.

Nothing in this paragraph prevents the Parties from implementing an organizational scheme that

applies only to documents or ESI created after the complaint was filed in this matter.

                (c)     The Parties may delete, overwrite, or wipe ESI from devices that are being

replaced, upgraded, reimaged, disposed of, or returned at the end of lease, provided that the

potentially relevant ESI is first copied to a new location in a manner that preserves the data,

including metadata, that must be produced pursuant to Section VI of this Order.

                (d)     The Parties may move data from one device to another, or from one

location to another, provided that a copy of the ESI remains accessible in the first location or the

new copy is created in a manner that preserves the data, including metadata, that must be

produced pursuant to Section VI of this Order.

                (e)     The Parties may load loose ESI into an enterprise content management

system, provided that: (1) the enterprise content management system captures all of the metadata

fields that must be produced under this order and does not convert the format of the ESI in a way

that makes it significantly less accessible; or (2) the Parties maintain a copy of the ESI in its

native format and make their production from this native file collection.

                (f)     The Parties may upgrade, patch, reprogram, or customize software that

stores relevant data, even if such actions alter the way data is maintained, stored, or viewed,

provided that the relevant data itself is not altered.




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                 (g)      The Parties may take any of the following actions with respect to data in a

database provided that it is part of the routine use of the database: input additional data; access

data; update the software running the database; append new data; and modify existing data.

                 (h)      The Parties may edit or take down any data on a publicly accessible

internet site.

                 (i)      The Parties may compress, decompress, encrypt, or decrypt data subject to

preservation in this matter provided that any data losses during such processes do not result in

loss of the metadata required to be produced under this Order or significantly degrade the quality

of the data.

                 (j)      The Parties may update social media sites, but may not take affirmative

steps to delete relevant data posted before the filing of the Complaint.

        7.       Preservation Does Not Affect Discoverability or Claims of Privilege. By

preserving documents or ESI for the purpose of this litigation, the Parties are not conceding that

such material is discoverable, nor are they waiving any claim of privilege.

        8.       Other Preservation Obligations Not Affected. Nothing in this agreement affects

any obligations of the Parties to preserve documents or information for purposes other than this

litigation, such as pursuant to court order, administrative order, statute, or in response to other

anticipated litigation.

                                        III.   COLLECTION

        9.       ESI that is not proportional. The broadest possible collection may not be

appropriate “to secure the just, speedy, and inexpensive determination” of proceeding. See Fed.

R. Civ. P. 1. Having considered the amount of discovery that would be proportional to the needs

of this case, the Parties agree as follows:




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                (a)    When collecting ESI from Microsoft 365—including email in the

Microsoft cloud, and documents and ESI stored on SharePoint, OneDrive, and Microsoft

Teams—the Parties may place any combination of the following limitations on their eDiscovery

collections:

                       (1)     enable de-duplication when collecting Microsoft Exchange

content;

                       (2)     choose an output option that includes all items that meet the search

criteria, including the entire Document Family, but does not automatically include an item and its

family members merely because the item has unrecognized format, is encrypted, or is not fully

indexed for other reasons;

                       (3)     choose not to collect versions for items on SharePoint, OneDrive,

or Teams; or

                       (4)     exclude “Recoverable Items” folders when collecting or processing

email, provided that there is no indication that the custodian has failed to implement or comply

with an appropriate and timely litigation hold.

                (b)    Nothing in this order prohibits a party from objecting to discovery

requests on account of proportionality. By way of illustration and not limitation, that may include

limitations on date range or custodians.

       10.      Hyperlinked documents. If an email or other document or ESI that is responsive

to a discovery request includes a hyperlink to another document or source of ESI, the Parties

need not collect and produce the hyperlinked material if it does not meet the search and

collection criteria: (a) agreed upon by the Parties; or (b) if the Parties have not agreed, disclosed

by the producing party. If hyperlinked documents are collected because they independently meet




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the search and collection criteria, they need not be treated as part of the Document Family for

purposes of Bates numbering or producing metadata, including document load files.

       11.      Targeted Requests. After reviewing documents or ESI produced in response to a

discovery request, a Party may, after meeting and conferring, propound proportional, targeted

requests for the production of ESI that a Party has chosen not to collect or process pursuant to

Paragraphs 9 or 10 above. Nothing in this order prevents a party from opposing such discovery

requests on any grounds, including proportionality.

       12.     Filtering. The Parties may de-NIST electronic files, removing known, traceable

software applications in the National Software Reference Library (“NIST List”), available at:

https://www.nist.gov/itl/ssd/software-quality-group/national-software-reference-library-nsrl/nsrl-

download.

       13.     Deduplication.

               (a)      Deduplication of e-mail. The Parties must deduplicate e-mail.

               (b)     The Parties hereby stipulate and agree that in this matter there is a

rebuttable presumption of evidence that an e-mail correctly addressed to a recipient was actually

delivered to that recipient’s e-mail inbox. This stipulation does not apply to draft e-mails.

               (c)     Deduplication of ESI other than e-mail. The Parties shall identify exact

duplicates of electronic files other than e-mails that are larger than zero bytes and smaller than

two gigabytes. The Parties shall, to the extent practicable, produce only one copy for each

custodian that has possession or custody of the file.

       14.     Search Technology.

               (a)     If a Party intends to use search terms to limit its collection, review, or

production of ESI, it shall include in its response to a request for production a table describing:




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(i) the collections of ESI for which it proposes to use search terms; (ii) the search terms that it

proposes to use for each collection; and (iii) the computer software or technologies it proposes to

use to carry out the search in each collection. If the requesting Party wishes to obtain more

information about the proposed search or objects to some or all of the proposed search protocol,

it must notify the producing Party within 30 days of receipt of the response.

               (b)     Nothing in this paragraph obligates any Party to agree to perform an

electronic search or to accept the results of an electronic search as a sufficient response to a

discovery request.

       15.     Third-Party Data. The Parties shall meet and confer before serving any subpoenas

in this matter on commercial e-mail providers, such as Google™ or Microsoft™, or any social

media companies such as Facebook™ or Twitter™.

       16.     Privileged Materials Located in the Offices of Counsel. The Parties agree that, in

response to general discovery requests, the Parties need not collect any privileged or work

product material that is located in the offices, electronic devices, and electronic accounts of the

U.S. Department of Justice or the New Hampshire Office of the Attorney General or outside

counsel for McCord (collectively, “Offices of Counsel”). The Parties understand that such

materials will not be produced or placed on a privilege log. This paragraph does not apply to any

documents, ESI, or tangible things located outside of the Offices of Counsel, even if they are

duplicates of materials located inside the Offices of Counsel. For example, if an attorney sends a

privileged e-mail to an employee of a party, the copy of the e-mail located in Offices of Counsel

need not be collected, but the copy of the e-mail received by the employee, along with any

attachments, must be collected and placed on a privilege log (unless it falls into one of the

categories exempt from privilege logging pursuant to Paragraph 23). This paragraph does not




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apply to discoverable materials in Offices of Counsel that are not accessible from another

location in the possession, custody, or control of the Party.

                                       IV.     PROCESSING

        17.      The Parties shall use reasonable efforts to process ESI for production in

accordance with Section VI of this Stipulation and Order. If a party identifies ESI that may be

responsive but that cannot be processed with reasonable effort, e.g., corrupt files or password-

protected files for which the password is not known, it shall promptly identify such ESI to the

requesting Party in a table that includes the following information: custodian name, filename,

and file path.

        18.      The Parties need not extract and process embedded files as though they were

separate files, if the Parties are technically able to suppress the extraction of embedded files

during processing. After production, a receiving Party may request that native files be produced

for documents and ESI that appear to contain embedded files but for which the embedded files

are not fully viewable.

                                          V.     REVIEW

A.      Technology Assisted Review.

        19.      As of the date of this Stipulation, neither Party intends to use Technology

Assisted Review, such as predictive coding. If any Party wishes to use Technology Assisted

Review to determine whether documents are responsive or otherwise to limit the documents that

it produces, it shall notify the other Parties and provide to them a proposed TAR protocol. The

Parties shall then meet and confer in an attempt to negotiate an agreed-upon protocol. Unless

otherwise ordered by the Court, the Parties shall not use TAR to determine whether documents

are responsive or otherwise to limit the documents that it produces except in conformance with a

written, agreed-upon protocol signed by counsel for the Parties.


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B.     Document Families

       20.     The Parties may withhold small image files or extracted embedded files that are

unresponsive or irrelevant, even if other documents in the same Document Family are

responsive.

       21.     The Parties shall not withhold documents or ESI on a claim of privilege merely

because other documents or ESI in the same Document Family are privileged

C.     Privilege Log

       22.     Embedded e-mails.

               (a)     An e-mail requires only one entry on the privilege log regardless of the

number of embedded e-mails contained within the message body of the e-mail in question. For

any e-mail that appears on the privilege log, the author, recipient(s), subject, and date fields may

be populated with the metadata from the top-level message and is not required to include

metadata from any e-mail embedded in the message body.

               (b)     If an e-mail contains both privileged and non-privileged communications,

the non-privileged communications must be produced, either by separately producing a copy of

the non-privileged communications embedded in the privileged communication, or by producing

a copy of the entire communication string with the privileged portions redacted.

               (c)     If an e-mail is withheld or any part of it is redacted for privilege, the

privilege description on the privilege log must include the basis for withholding each embedded

e-mail and the basis for each redaction (unless the communication is exempt from privilege

logging pursuant to Paragraph 23 below).

               (d)     If an e-mail is produced with redactions, the redactions must not obscure

the headers (from, to, subject, sent date) of any embedded e-mails, unless the identity or contact

information of a person is the information that is privileged or protected.


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       23.       The obligation to provide a log of privileged or work product materials pursuant

to Rule 26(b)(5)(A) presumptively does not apply to:

                 (a)    Communications exclusively between a party and its trial counsel;

                 (b)    Work product created after January 1, 2021 by (i) trial counsel; or (ii) by

an agent of trial counsel other than a party or an employee of a party; or

                 (c)    Internal communications within (i) a law firm, (ii) a legal assistance

organization, (iii) a governmental law office, or (iv) a legal department of a corporation or

another organization.

       24.       Deliberative Process Privilege Claims. The Parties agree that the United States’

and/or the State of New Hampshire’s assertion of deliberative process privilege may be made by

first identifying documents withheld as deliberative process privileged on the privilege log and,

second, providing a declaration supporting that assertion within 45 days after service of the

privilege log.

                                      VI.     PRODUCTION

       25.       Procedures for Production: Unless stated otherwise in a written agreement by

each of the Parties to this litigation, the following procedures apply to producing documents or

ESI. Compliance with these procedures constitutes compliance with Federal Rule of Civil

Procedure 34(b)(2)(E) for this matter.

                 (a)    TIFF Plus Text Productions. Except as stated otherwise below, ESI being

produced by a Party shall be converted to 300 dpi, single-page, black-and-white (no shades of

gray) TIFF images using CCITT Group IV compression. Where color images are required by

this order, the images shall be in the form of .JPG images. Each page must be branded with a

unique Bates number, which must not be an overlay of the image. Unless otherwise agreed by

the Parties, the TIFF images must be produced on optical media, USB hard drive, or by secure


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online file transfer, accompanied by: (1) an Opticon™ or IPRO® “cross reference file” which

associates each Bates number with its corresponding single-page TIFF image file (or JPG image

file for color images) and extracted text file; (2) a “load file” containing the applicable metadata

fields described in Appendix A; and (3) Concordance® delimited text files containing extracted

or OCR text. The load file must contain Concordance® delimited text that will populate fields in

a searchable flat database environment, containing one line for each document. Nothing in this

stipulation requires a Party to manually populate a metadata field in Appendix A (other than

“Custodian” and “MD5Hash”) if such fields cannot be extracted from a document.

               (b)     Paper documents.

                       (1)     Documents printed on paper that is larger than 11 x 17 inches may,

at the Producing Party’s discretion, be produced on paper. Documents produced on paper must

be produced as they are kept in the ordinary course of business or must be organized and labeled

to correspond to the categories in the request.

                       (2)     Documents printed on paper that is 11 x 17 inches or smaller must

be scanned and produced on CD-ROM, DVD-ROM, or external hard drive.

               (c)     Word, WordPerfect, and PDF files.

                       (1)     For Word, WordPerfect, and PDF files, the text files must contain

the extracted text from the document, unless the document has been redacted during privilege

review, in which case the text files may contain OCR text.

                       (2)     For Word, WordPerfect, and PDF files that contain comments or

tracked changes that are not part of the ordinary text, the TIFF images must be generated based

on how the document appears when first opened using view settings contained in the file. The




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receiving party has the option, after reviewing the produced TIFF image, to request the native

file.

               (d)     Microsoft PowerPoint files must be processed and produced as full color,

half page, JPEG images with one slide per page. Any presenter notes must appear below each

slide.

               (e)     E-mail.

                       (1)       If the producing party redacts any part of an e-mail before

producing it, OCR text may be provided in place of extracted text.

                       (2)       E-mail attachments must be processed as though they were

separate documents, and the load file must include a field in which the producing Party

identifies, for each e-mail, the Bates range of any attachment;

               (f)     Microsoft Excel files and other spreadsheets must be produced in native

file format in a separate folder on the production media. The load file must contain a field that

identifies the file path of the native file corresponding to each document, and the Parties must

provide a placeholder TIFF image that shows the name of the native file and has a Bates number.

If an MS Excel or other spreadsheet file contains privileged text that must be redacted before

production, the producing party will image the redacted spreadsheet showing all non-privileged

hidden columns and provide OCR text for the file.

               (g)     Digital photographs must be produced as full color .JPG image files at

their original resolution with Bates numbers branded onto them.

               (h)     Microsoft OneNote files may be converted to PDF files prior to

processing, review, and production. The Parties need not collect or produce an entire OneNote

notebook if only certain sections or pages in the notebook are responsive.




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               (i)     GIS maps that are contained in a folder (with or without subfolders) may,

at the Producing Party’s discretion, be converted to a single ZIP file that contains all of the

contents of that folder, even if the folder contains certain files types (e.g., JPG images) that

would ordinarily be produced using different procedures pursuant to this Paragraph. The

Producing Party must provide a placeholder TIFF image that shows the name of the ZIP file and

has a Bates number. After production of the ZIP file, the receiving party may initiate a meet and

confer about whether any files contained with the ZIP file should be produced as separate

documents with their own Bates numbers.

               (j)     With respect to any other kinds of electronic data, including data from

databases, CAD drawings, GIS data, videos, etc., the Producing Party may produce the ESI in

native format or a reasonably usable form, or may initiate a meet-and-confer to determine a

reasonably useable form for the production. If the file is not one of the types described above, the

Producing Party must provide a placeholder TIFF image that shows the name of the file and has

a Bates number. If the Parties have not agreed on a production format for the ESI prior to the

production, then Rule 34(b)(2)(E)(iii) shall not apply to the production.

       26.     The receiving party has the option, after reviewing a black-and-white TIFF image,

to enquire whether the original document contained color and, if so, to request color .JPG

images.

       27.     Except as stated above, a Party need not produce the same electronically stored

information in more than one form.

                              VII.    DISCOVERY LIMITATIONS

       28.     All limits on written discovery and depositions set forth in the Federal Rules of

Civil Procedure, in local rules, or in orders of this Court remain in effect in this litigation, except

as stated in this Order. These discovery limitations are meant to apply to Phase 1 of this litigation


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involving the resolution of whether the manner in which Defendant interacted with its subsidiary

establishes direct CERCLA operator liability.

       29.     Date Range. Nothing in this stipulation and order prevents the Parties from

applying appropriate date range limitations in their responses to particular discovery requests,

even if such date ranges are more narrow, provided that all such date range limitations shall be

timely disclosed by the Party applying them.

       30.     Written Discovery Requests in Advance of Cross-Motions for Partial Summary

Judgment.

               (a)     Unless otherwise stipulated or ordered by the Court, a party may serve no

more than 25 written interrogatories, including all discrete subparts.

               (b)     For purposes of Rule 26(d)(2)(B), the first 26(f) conference took place on

November 9, 2022.

       31.     Depositions in Advance of Cross-Motions for Partial Summary Judgment.

               (a)     Unless otherwise stipulated by the Parties, a party must obtain leave of

Court before taking a deposition if it would result in more than 7 depositions being taken under

Rule 30 or 31, or if any deposition is to exceed 7 hours, excluding breaks, by the plaintiffs, or by

the defendant. Depositions of witnesses providing a report pursuant to Rule 26(a)(2)(B) will not

be counted for purposes of this subparagraph.

               (b)     Regardless of whether there is a request before the deposition is

completed, a deponent must be allowed 30 days after being notified by the officer that the

transcript or recording is available in which: (1) to review the transcript or recording; and (2) if

there are changes in form or substance, to sign a statement listing the changes and the reasons for

making them.




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               (c)     Objections at a deposition to the form of a question should be limited to

the words, “Objection, form.” The questioning attorney may ask for the basis of the objection, in

which case the objecting attorney must identify any defects in the form of the question (e.g.,

compound) in order to preserve the objection. Unless the questioning attorney asks for the basis

of the objection, an objection to form without further explanation is sufficient to preserve

objections to the form of a question asked at a deposition in this action.

                                 VIII. EXPERT DISCOVERY

       32.     Each Party shall not pursue through discovery, trial subpoena or otherwise:

               (a)     Notes taken by a witness required to provide a report under Fed. R. Civ. P.

26(a)(2)(B);

               (b)     Communications between a witness required to provide a report under

Fed. R. Civ. P. 26(a)(2)(B) and a Party’s representative—including, but not limited to, another

witness required to provide a report under Fed. R. Civ. P. 26(a)(2)(B)—regardless of the form of

the communications, except to the extent that the communications:

                       (1)     Relate to compensation for an expert’s study or testimony;

                       (2)     Identify facts or data that a Party provided and that the expert

considered in forming the opinions to be expressed; or

                       (3)     Identify assumptions that a Party provided and that the expert

relied upon in forming the opinions to be expressed.

       33.     Expert Depositions. Notwithstanding Fed. R. Civ. P. 26(b)(4)(E), the Parties shall

bear the costs of their own testifying experts in responding to discovery, and shall not require the

Party seeking discovery to pay the other Party’s testifying expert any fee for the time spent in

responding to discovery.

       34.     Expert Productions.


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               (a)     Documents collected or created by a retained expert are within the

possession, custody, or control of the Party that has retained the expert. If documents collected

by an expert, and not created by or for that expert in connection with this matter, are responsive

to a request for production served during fact discovery, such documents must be produced

during fact discovery unless privileged. Documents created by or for an expert may be withheld,

without providing a privilege log, until the deadline described in subparagraph (c) below.

               (b)     Documents “considered” by expert for the purposes of Fed. R. Civ. P.

26(a)(2)(B)(ii) means those documents that have been received, read, reviewed, or created by the

expert for the purposes of forming the opinions set forth in the expert’s report but only if the

expert actually relies upon them in forming his or her opinion.

               (c)     Documents considered by a witness required to provide a report under

Fed. R. Civ. P. 26(a)(2)(B) shall be produced within fourteen days after producing the witness’s

report. Such documents shall be produced in accordance with the requirements of Section VI of

this order, except that the Parties shall identify which witness(es) considered each document

either in the load file produced along with the documents or in the witness’ report. However, the

Parties do not need to produce: (1) copies of documents that were previously produced in this

matter, provided that the Party identifies the documents by Bates number before the expiration of

the seven-day period described in this subparagraph; (2) copies of documents considered by

experts that are publicly available (e.g., published materials one might find in a library), unless it

would be less burdensome for the producing party to obtain a copy than it would be for the

receiving party, and the receiving party requests a copy after receiving the expert report. All such

requests shall be fulfilled within 10 days.




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                  (d)    Notwithstanding the provision of Fed. R. Civ. P. 26(a)(2)(B)(iii), the

experts’ disclosures under Rule 26(a)(2) need not include demonstrative exhibits the expert may

use at trial, provided that the facts and data supporting such trial demonstrative exhibits have

been disclosed in the experts’ report or in the documents considered by that witness. Each party

agrees to provide the other parties with copies of any demonstrative exhibits before they are used

at trial. The parties will seek to reach agreement on how long before trial demonstrative exhibits

must be exchanged. If the parties are unable to reach agreement, one or more parties may ask the

Court to set a deadline for exchanging copies of demonstrative exhibits.

                            IX.     MISCELLANEOUS PROVISIONS.

        35.       In the event that a non-party produces documents or ESI in response to a

subpoena, the Party serving the subpoena shall make reasonable provision for prompt access to

the produced materials by other parties.

        36.       Before filing any motion with the Court regarding electronic discovery or

evidence, the Parties shall meet and confer in a good faith attempt to resolve such disputes.

        37.       Costs of Document Production. Each Party shall bear the costs of collecting,

processing, reviewing, and producing its own documents.

        38.       Effect of Order. The Parties’ agreement to this Order is without prejudice to the

right of any Party to seek an order from the Court to rescind or amend this Order for good cause

shown. Nothing in this Order abridges the rights of any person to seek judicial review or to

pursue other appropriate judicial action with respect to any discovery ruling made by the Court

in this matter.

        39.       Integration/Appendices. The following documents are incorporated herein by

reference:




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              (a)    “Appendix A” is a table describing the fields to be included in the

databases produced by each Party.

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